              Case 23-02823-RLM-11                       Doc 1    Filed 06/30/23            EOD 06/30/23 13:27:29                  Pg 1 of 17


Fill in this information to identify your case:


United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA, INDIANAPOLIS DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                AHR Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Brow Bar
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5042 Silver Saddle Ct.
                                  Dublin, OH 43016
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Franklin                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                   IN
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
              Case 23-02823-RLM-11                          Doc 1     Filed 06/30/23              EOD 06/30/23 13:27:29                       Pg 2 of 17
Debtor    AHR Inc.                                                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor     Brow Bar Inc.                                                   Relationship            Affiliate


 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
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Debtor   AHR Inc.                                                                                  Case number (if known)
         Name


                                                          Southern District of
                                              District    Indiana                      When      6/30/23                Case number, if known


11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.     Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   AHR Inc.                                                                                  Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       June 30, 2023
                                                  MM / DD / YYYY


                             X   /s/ Rafi Qureshi                                                          Rafi Qureshi
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Sarah L. Fowler                                                       Date    June 30, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Sarah L. Fowler 30621-49
                                 Printed name

                                 Blackwell Burke and Ramsey PC
                                 Firm name

                                 101 West Ohio Street Suite 1700
                                 Indianapolis, IN 46204
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (317) 635-5005                Email address      sfowler@bbrlawpc.com

                                 30621-49 IN
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         AHR Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA, INDIANAPOLIS DIVISION

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           June 30, 2023                          X /s/ Rafi Qureshi
                                                                       Signature of individual signing on behalf of debtor

                                                                        Rafi Qureshi
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 Case 23-02823-RLM-11                                Doc 1   Filed 06/30/23              EOD 06/30/23 13:27:29                           Pg 6 of 17


 Fill in this information to identify the case:
 Debtor name AHR Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA,                                                                                Check if this is an
                                                INDIANAPOLIS DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Arizona Mills Mall,                                            Lease                                                                                                       $5,000.00
 LLC
 c/o M.S. Management
 Associates, Inc.
 225 West Washington
 Street
 Indianapolis, IN
 46204
 Bellwether Properties                                          Lease                   Unliquidated                                                                              $0.00
 of South Carolina                                                                      Disputed
 c/o M.S. Management
 Associates, Inc.
 225 West Washington
 Street
 Castleton Square,                                              Lease                   Unliquidated                                                                              $0.00
 LLC                                                                                    Disputed
 c/o M.S. Management
 Associates, Inc.
 225 West Washington
 Street
 Indianapolis, IN
 46204
 Governor's Square                                              Lease                   Unliquidated                                                                      $50,000.00
 Mall, LLC                                                                              Disputed
 Attn: Law/Lease
 Administration
 Department
 350 N. Orleans St.,
 Suite 300
 Chicago, IL 60654
 Keter Environmental                                            Commercial                                                                                                $20,000.00
 Services, Inc.                                                 Services
 PO Box 417468
 Boston, MA 02241




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    AHR Inc.                                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Mall of Georgia, LLC                                           Lease                   Unliquidated                                                                              $0.00
 c/o M.S. Management                                                                    Disputed
 Associates, Inc.
 225 West Washington
 Street
 Indianapolis, IN
 46204
 Penn Ross Joint                                                Lease                   Unliquidated                                                                              $0.00
 Venture                                                                                Disputed
 c/o M.S. Management
 Associates, Inc.
 225 West Washington
 Street
 Indianapolis, IN
 46204
 Simon Property                                                 Lease                   Unliquidated                                                                              $0.00
 Group (Texas), L.P.                                                                    Disputed
 c/o M.S. Management
 Associates, Inc.
 225 West Washington
 Street
 Indianapolis, IN
 46204
 Simon Property                                                 Lease                   Unliquidated                                                                              $0.00
 Group, L.P.                                                                            Disputed
 c/o M.S. Management
 Associates, Inc.
 225 West Washington
 Street
 Indianapolis, IN
 46204
 South Hills Village                                            Lease                   Unliquidated                                                                              $0.00
 Associates, L.P.                                                                       Disputed
 c/o M.S. Management
 Associates, Inc.
 225 West Washington
 Street
 Indianapolis, IN
 46204
 The Mall at Tuttle                                             Lease                   Unliquidated                                                                              $0.00
 Crossing                                                                               Disputed
 Attn: Mall
 Management Office
 5043 Tuttle Crossing
 Boulevard #200
 Dublin, OH 43016




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    AHR Inc.                                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 University Park Mall,                                          Lease                   Unliquidated                                                                              $0.00
 LLC                                                                                    Disputed
 c/o M.S. Management
 Associates, Inc.
 225 West Washington
 Street
 Indianapolis, IN
 46204




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                             United States Bankruptcy Court
                                                    Southern District of Indiana, Indianapolis Division
 In re      AHR Inc.                                                                                                 Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Rafi Qureshi                                                                                                                   Sole Shareholder
 5042 Silver Saddle Ct.
 Dublin, OH 43016


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       June 30, 2023                                                    Signature /s/ Rafi Qureshi
                                                                                            Rafi Qureshi

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                       Verification of Creditor List (rev 12/01/18)
                                                    UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF INDIANA, INDIANAPOLIS DIVISION

 In re:                                                                         )       Case No.
 AHR Inc.                                                                       )
                                                                                )            Check if this form is submitted with an amended creditor
                                                                                )       list.
                                                                     Debtor(s). )

                                                   VERIFICATION OF CREDITOR ADDRESS MATRIX

(I/We) declare under penalty of perjury that all entities included or to be included in Schedules D, E/F, G, and H are listed in the creditor
list submitted with this verification. This includes all creditors, parties to leases and executory contracts, and codebtors.

(I/We) declare that the names and addresses of the listed entities are true and correct to the best of (my/our) knowledge.

(I/We) understand that (I/we) must file an amended creditor list and pay an amendment fee if there are entities listed on (my/our)
schedules that are not included in the creditor list submitted with this verification.

 Dated:       June 30, 2023                                                         /s/ Rafi Qureshi
                                                                                     Rafi Qureshi
                                                                                    Signature of Debtor


                                                                                    Signature of Joint Debtor

(Note: Certificate of Service not required.)




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                          Arizona Mills Mall, LLC
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street
                          Indianapolis, IN 46204


                          Bellwether Properties of South Carolina
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street


                          Castleton Square, LLC
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street
                          Indianapolis, IN 46204


                          Christine J. McKenna
                          McKenna, McCausland & Murphy, P.A.
                          3020 N.E. 32nd Avenue, Suite 304
                          Ft. Lauderdale, FL 33308


                          Christopher L. Cassidy
                          Cleveland Lehner Cassidy Attorneys at La
                          6214 Carrollton Ave., Suite 200
                          Indianapolis, IN 46220


                          Christopher L. Cassidy
                          Cleveland Lehner Cassidy Attorneys at La
                          6214 Carrollton Ave., Suite 200
                          Indianapolis, IN 46220


                          Christopher L. Cassidy
                          Cleveland Lehner Cassidy Attorneys at La
                          6214 Carrollton Ave., Suite 200
                          Indianapolis, IN 46220


                          Governor's Square Mall, LLC
                          Attn: Law/Lease Administration Departmen
                          350 N. Orleans St., Suite 300
                          Chicago, IL 60654


                          Keter Environmental Services, Inc.
                          PO Box 417468
                          Boston, MA 02241


                          Liberty Town Center
                          Attn: Matt Neu
                          7100 Foundry Row, Suite 204
                          West Chester, OH 45069


                          Mall at Miami International, LLC
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street
                          Indianapolis, IN 46204


                          Mall of Georgia, LLC
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street
                          Indianapolis, IN 46204
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                          Penn Ross Joint Venture
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street
                          Indianapolis, IN 46204


                          Preit Services, LLC
                          Attn: General Counsel
                          One Commerce Square 2005 Market Square,
                          Philadelphia, PA 19103


                          Simon Property Group (Texas), L.P.
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street
                          Indianapolis, IN 46204


                          Simon Property Group, L.P.
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street
                          Indianapolis, IN 46204


                          South Hills Village Associates, L.P.
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street
                          Indianapolis, IN 46204


                          Steiner Real Estate Services, LLC
                          Attn: Lease Administration
                          4016 Townsfair Way, Suite 201
                          Columbus, OH 43219


                          The Mall at Tuttle Crossing
                          Attn: Mall Management Office
                          5043 Tuttle Crossing Boulevard #200
                          Dublin, OH 43016


                          University Park Mall, LLC
                          c/o M.S. Management Associates, Inc.
                          225 West Washington Street
                          Indianapolis, IN 46204
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                                                                     United States Bankruptcy Court
                                                         Southern District of Indiana, Indianapolis Division
  In re      AHR Inc.                                                                                        Case No.
                                                                                     Debtor(s)               Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for AHR Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  June 30, 2023                                                          /s/ Sarah L. Fowler
 Date                                                                    Sarah L. Fowler 30621-49
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for AHR Inc.
                                                                         Blackwell Burke and Ramsey PC
                                                                         101 West Ohio Street Suite 1700
                                                                         Indianapolis, IN 46204
                                                                         (317) 635-5005 Fax:
                                                                         sfowler@bbrlawpc.com




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                                                             United States Bankruptcy Court
                                                    Southern District of Indiana, Indianapolis Division
 In re      AHR Inc.                                                                                     Case No.
                                                                             Debtor(s)                   Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

        I, Rafi Qureshi, declare under penalty of perjury that I am the President of AHR Inc., and that the following is
a true and correct copy of the resolutions adopted by the Board of Directors of said corporation at a special
meeting duly called and held on the day of , 20 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Rafi Qureshi, President of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

        Be It Further Resolved, that Rafi Qureshi, President of this Corporation is authorized and directed to appear in
all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds and to
execute and deliver all necessary documents on behalf of the corporation in connection with such bankruptcy
case, and

         Be It Further Resolved, that Rafi Qureshi, President of this Corporation is authorized and directed to employ
Sarah L. Fowler 30621-49 , attorney and the law firm of Blackwell Burke and Ramsey PC to represent the corporation in
such bankruptcy case."

 Date       June 30, 2023                                                  Signed     /s/ Rafi Qureshi
                                                                                      Rafi Qureshi




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                                                                Resolution of Board of Directors
                                                                               of
                                                                            AHR Inc.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Rafi Qureshi, President of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

         Be It Further Resolved, that Rafi Qureshi, President of this Corporation is authorized and directed to appear
in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds and
to execute and deliver all necessary documents on behalf of the corporation in connection with such bankruptcy
case, and

         Be It Further Resolved, that Rafi Qureshi, President of this Corporation is authorized and directed to employ
Sarah L. Fowler 30621-49 , attorney and the law firm of Blackwell Burke and Ramsey PC to represent the corporation in
such bankruptcy case.

 Date       June 30, 2023                                                   Signed


 Date       June 30, 2023                                                   Signed




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          Case 23-02823-RLM-11                             Doc 1     Filed 06/30/23      EOD 06/30/23 13:27:29           Pg 16 of 17


                                                             United States Bankruptcy Court
                                                    Southern District of Indiana, Indianapolis Division
 In re      AHR Inc.                                                                                     Case No.
                                                                             Debtor(s)                   Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

        I, Rafi Qureshi, declare under penalty of perjury that I am the President of AHR Inc., and that the following is
a true and correct copy of the resolutions adopted by the Board of Directors of said corporation at a special
meeting duly called and held on the 29th day of June , 2023 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Rafi Qureshi, President of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

        Be It Further Resolved, that Rafi Qureshi, President of this Corporation is authorized and directed to appear in
all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds and to
execute and deliver all necessary documents on behalf of the corporation in connection with such bankruptcy
case, and

         Be It Further Resolved, that Rafi Qureshi, President of this Corporation is authorized and directed to employ
Sarah L. Fowler 30621-49 , attorney and the law firm of Blackwell Burke and Ramsey PC to represent the corporation in
such bankruptcy case."

 Date       June 30, 2023                                                  Signed     /s/ Rafi Qureshi
                                                                                      Rafi Qureshi




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          Case 23-02823-RLM-11                             Doc 1     Filed 06/30/23     EOD 06/30/23 13:27:29   Pg 17 of 17


                                                                Resolution of Board of Directors
                                                                               of
                                                                            AHR Inc.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Rafi Qureshi, President of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

         Be It Further Resolved, that Rafi Qureshi, President of this Corporation is authorized and directed to appear
in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds and
to execute and deliver all necessary documents on behalf of the corporation in connection with such bankruptcy
case, and

         Be It Further Resolved, that Rafi Qureshi, President of this Corporation is authorized and directed to employ
Sarah L. Fowler 30621-49 , attorney and the law firm of Blackwell Burke and Ramsey PC to represent the corporation in
such bankruptcy case.

 Date       June 30, 2023                                                   Signed     /s/ Rafi Qureshi
                                                                                       Rafi Qureshi


 Date       June 30, 2023                                                   Signed




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